CaSe 2:02-cv-02177-.]PI\/|-STA Document 76 Filed 05/05/05 Page 1 of 2 Page|D 157

sure M_.n.c.

IN THE UNITED STATES DISTRICT COURT

FoR THE wEsTERN DISTRICT qu'.h§r‘m§m§?§n§ 13
wEsTERN DIvIsIo`N '

P,_`F`_,__. .. …

  

DONALD R. DEPRIEST,
Plaintiff,

v.
No. 02-2177 Ml/An
ELLEN H. HARDYMON and MSB

FINANCIAL SERVICES CORPORATION,

Vvvvv\_fvvvv

Defendants.

 

JUDGMENT

 

JUDGMENT BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.

IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that, in
accordance with the Court’s Decision and Entry, entered May 5,
2005, judgment is hereby entered in favor of Defendants Ellen H.
Hardymon and MSB Financial Services Corporation and against
Plaintiff Donald R. DePriest regarding all of Plaintiff's claims
against Defendants, and judgment is hereby entered in favor of
Defendant MSB Financial Services Corporation and against
Plaintiff Donald R. DePriest for $143,169.16 regarding
Defendant's counterclaim against Plaintiff.

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JO . OMCCALLA
UN TED STATES DISTRICT COURT

APPROVED:

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(By) Deputy Clerk

 

 

This document entered on the docket Sheet in compliance

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Notice of Distribution

This notice confirms a copy of the document docketed as number 76 in
case 2:02-CV-02177 Was distributed by faX, mail, or direct printing on
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Honorable J on McCalla
US DISTRICT COURT

